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March 8, 2018

Via ECF

Hon. Edgardo Ramos, U.S.D.J.

United States District Court, Southern District of New York
500 Pearl Street

New York, NY 10007

Re: 111 re Application of Antom'o Del Valle Ruiz et al, No. 1:18-mc-00085-ER

Dear Judge Ramos:

We represent Banco Santander, S.A., Santander Holdings U.S.A., Inc., and Santander
Bank N.A. (collectively the “Santander Parties”) and respectfully Write, pursuant to your
Individual Rule Z(A)(ii), to request a pre-motion conference regarding the Santander Parties’
anticipated motion to intervene in this action. The applicantsl commenced this action to
obtain voluminous third-party discovery from the Santander Parties purportedly in aid of two
foreign proceedings: pending litigation before the General Court of the Court of Justice of the
European Union and a “recently notified” arbitration against the Kingdom of Spain. The
Santander Parties Wish to intervene in this action and oppose the application or, in the
alternative, move to quash the subpoenas if issued.

The Santander Parties Have a Right to lntervene Pursuant to Federal Rule of Civil Procedure

24ga).

“On timely motion, the court must permit anyone to intervene Who . . . claims an
interest relating to the property or transaction that is the subject of the action, and is so
situated that disposing of the action may as a practical matter impair or impede the movant’s
ability to protect its interest, unless existing parties adequately represent that interest.” Fed.
R. Civ. P. 24(a)(2). “A motion to intervene as a matter of right . . . should not be dismissed
unless it appears to a certainty that the intervener is not entitled to relief under any set of
facts.” Bay Casino, LLC v. M/VRoyal Empress, 199 F.R.D. 464, 467 (E.D.N.Y. 1999).

 

1 The applicants are listed in Appendix A to the application See ECF No. l.

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ATLANTA AUSTlN BANGKOK BEIJING BRUSSELS CHARLOTTE DALLAS HOUSTON LONDON LOS ANGELES
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In this case, the applicants ask the Court to grant their application and petition for
discovery in aid of two foreign proceedings pursuant to 28 U.S.C. § 1782. The proposed
subpoenas Seek voluminous document discovery and testimony from the three Santander
Parties. Accordingly, the Santander Parties have a critical interest in the action, and
disposition of the application Without affording the Santander Parties the opportunity to be
heard Would obviously affect their ability to protect that interest. Courts have recognized as
much, granting intervention in cases involving requests for judicial assistance under 28 U.S.C.
§ 1782. See, e.g., JAS Forwarding (USA), Inc. v. JetAir Serv. Equador S.A., 747 F.3d 1262,
1267 (l lth Cir. 2014) (target permitted to intervene to quash subpoena for discovery to be
used in idture foreign proceedings); In re Hanwha Azdel, Inc., 979 F. Supp. 2d 178, 180 (D.
Mass. 2013) (granting Rule 24(a)(2) intervenor’s motion to quash subpoenas in § 1782
action). Accordingly, the Santander Parties should be allowed to intervene in this action and
oppose the application or, in the alternative, to move to quash the subpoenas

Alternativelv, the Court Should Permit the Santander Parties to lntervene Pursuant to Federal
Rule of Civil Procedure 24(b).

Alternatively, the Santander Parties move to intervene pursuant to Rule 24(b), Which
authorizes the court to “permit anyone to intervene Who . . . has a claim or defense that shares
With the main action a common question of law or fact.” Fed. R. Civ. P. 24(b)(1)(B); see also
Comer v. Cisneros, 37 F.3d 775, 801 (2d Cir. 1994) (flnding intervention proper Where
intervenors had claims that presented common issues of fact and identical issues of law as
those of the original plaintiffs, and intervention Would not unduly delay or prejudice the
adjudication of the rights of the original parties). Courts have relied upon Rule 24(b) in
granting motions to intervene in 28 U.S.C. § 1782 actions. See, e.g., In re Grupo Um'dos Por
El Canal S.A., No. 14-mc-80277~JST, 2015 WL 1815251, at *6 CN.D. Cal. Apr. 21, 2015)
(granting motion to intervene in 28 U.S.C. § 1782 action).

Here, the motion to intervene would be timely, as this action Was commenced only
two days ago. The Santander Parties’ intervention Will not delay or prejudice the adjudication
of rights, as they propose that the Court establish a briefing schedule by Which to resolve its
opposition to the application and its objections to the subpoenas. Finally, the Santander
Parties present common issues of fact and law With the application, i.e. Whether the statutory
factors under 28 U.S.C. § 1782 have been satisfied, and Whether this Court should exercise its
discretion to permit discovery pursuant to lntel Corporation v. Advanced Micro Devz`ces, Inc.,
542 U.S. 241 (2004). The requirements for permissive intervention are therefore satisfied

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For the foregoing reasons, the Santander Parties are proper parties, and this Court
should permit them to intervene in this action. The Santander Parties also propose that the
Court issue a briefing schedule on the applicants’ application and petition under 28 U.S.C. §
1782.

Very truly yours,

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Joseph J. Saltarelli

cc: All counsel of record

